                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

In re:
                                                      Chapter 13
BRANDON HEITMANN,                                     Case No. 24-41956-MAR
                                                      Hon. Mark A. Randon
               Debtor.
                                         /

            STIPULATION EXTENDING DEADLINES FOR
    CREDITOR MOHAMED SAAD ONLY (1) TO FILE A PROOF OF
   CLAIM, (2) TO FILE A COMPLAINT TO OBJECT TO DISCHARGE,
              AND (3) TO OBJECT TO CONFIRMATION

         The undersigned parties, by and through their attorneys, stipulate to entry of

the Order Extending Deadline for Creditor Mohamed Saad Only (1) to File a Proof

of Claim, (2) to File a Complaint to Object to Discharge, and (3) to Object to

Confirmation, extending all deadlines to August 2, 2024.

Approved: June 19, 2024

OSIPOV BIGELMAN, P.C.                           ROBERT N. BASSEL

/s/ Anthony J. Miller                           /s/ Robert N. Bassel
Anthony J. Miller (P71505)                      Robert N. Bassel (P48420)
Attorney for Creditor                           Attorney for Debtor
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  24-41956-mar      Doc 57   Filed 06/19/24   Entered 06/19/24 14:10:04   Page 1 of 2
                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

In re:
                                                     Chapter 13
BRANDON HEITMANN,                                    Case No. 24-41956-MAR
                                                     Hon. Mark A. Randon
               Debtor.
                                       /

   ORDER GRANTING STIPULATION EXTENDING DEADLINES FOR
    CREDITOR MOHAMED SAAD ONLY (1) TO FILE A PROOF OF
   CLAIM, (2) TO FILE A COMPLAINT TO OBJECT TO DISCHARGE,
               AND (3) TO OBJECT TO CONFIRMATION

         This matter having come before the Court upon the stipulation between the

Creditor, Mohamed Saad, and the Debtor, Brandon Heitmann, for entry of this

Order, and the Court being otherwise dully advised in the premises;

         IT IS HEREBY ORDERED that the deadline for Creditor Mohamad Saad to

file a complaint to object to the Debtor’s discharge is extended to August 2, 2024.

         IT IS FURTHER ORDERED that the deadline for Creditor Mohamad Saad

to file a Proof of Claim is extended to August 2, 2024.

         IT IS FURTHER ORDERED that the deadline for Creditor Mohamad Saad

to object to confirmation is extended to August 2, 2024.




                                    EXHIBIT A



  24-41956-mar     Doc 57   Filed 06/19/24   Entered 06/19/24 14:10:04   Page 2 of 2
